                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

 In re:
 ROMAN CATHOLIC CHURCH OF THE                        Chapter 11
 ARCHDIOCESE OF SANTA FE, a New
 Mexico corporation sole,                            Case No. 18-13027-t11
              Debtor.
                                  CERTIFICATE OF SERVICE

       I hereby certify that service of the Notice of Deadline for Filing Claims Relating to or
Arising From Sexual Abuse (Docket No. 116-4) and Sexual Abuse Proof of Claim (Docket No.
116-1) were made on March 11, 2019 via first class mail, postage prepaid, on the following parties:
(a) the Office of the United States Trustee for the District of New Mexico; (b) counsel to the
Committee; (c) counsel for all person or entities who have filed a notice of appearance in the
Debtor's case; (d) all persons or entities listed in Debtor's schedules; (e) all Catholic Schools in the
region served by the Archdiocese. A copy of the list of parties served is attached hereto as Exhibit
A.
                                                Respectfully submitted,

                                                WALKER & ASSOCIATES, P.C.

                                                /s/ Stephanie L. Schaeffer
                                                   Thomas D. Walker
                                                   Stephanie L. Schaeffer
                                                   500 Marquette N.W., Suite 650
                                                   Albuquerque, New Mexico 87102
                                                   (505) 766-9272
                                                   Fax: (505) 722-9287
                                                   twalker@walkerlawpc.com
                                                   sschaeffer@walkerlawpc.com
                                                Counsel for Debtor

Pursuant to F.R.C.P. 5(b)(3), F.R.B.P. 9036 and NM
LBR 9036-1(b), I hereby certify that service of the
foregoing was made on April 2, 2019 via the notice
transmission facilities of the Bankruptcy Court’s
case management and electronic filing system.

/s/filed electronically_____
Stephanie L. Schaeffer




Case 18-13027-t11       Doc 153      Filed 04/02/19      Entered 04/02/19 17:16:07 Page 1 of 10
                                               Exhibit A
Label Matrix for local noticing           Adjusting Alternatives, LLC                    Jonathan B. Alter
1084-1                                    PO Box 14710                                   Travelers Insurance Co.
Case 18-13027-t11                         Albuquerque, NM 87191-4710                     One Tower Square
District of New Mexico                                                                   4MS
Albuquerque                                                                              Hartford, CT 06183-0002
Mon Mar 11 12:02:54 MDT 2019
Bruce Anderson                            Bank of America                                Bank of America, N.A.
Elsaesser Anderson, Chtd.                 PO Box 15731                                   c/o Robert J. Miller and Khaled Tarazi
320 East Neider Avenue                    Wilmington, DE 19886-5731                      Bryan Cave Leighton Paisner LLP
Coeur d’Alene, ID 83815-6007                                                             Two North Central Avenue, Suite 2100
                                                                                         Phoenix, AZ 85004-4533

Dennis A Banning                          Martha G Brown                                 Laura R Callanan
New Mexico Financial Law                  Modrall Sperling Law Firm                      Curtis and Lucero Law Firm
320 Gold Ave, SW #1401                    P.O. Box 2168                                  215 Central Ave., NW, Suite 30
Albuquerque, NM 87102-3248                Albuquerque, NM 87103-2168                     Albuquerque, NM 87102-3318


Candelaria Lopez                          Jim Carter                                     Catherine Collins
124 Santa Ana Road                        Blank Rome LLP                                 Kevin R. Korte
Bernalillo, NM 87004-6264                 1825 Eye Street NW                             Prince, Schmidt, Korte & Baca, LLP
                                          Washington, DC 20006-5403                      2905 Rodeo Park Drive East, Building 2
                                                                                         Santa Fe, NM 87505-6313

Catholic Mutual Society of America        Robert M. Charles Jr.                          Christine B. Romero
4060 St. Joseph Place                     Lewis Roca Rothgerber Christie LLP             c/o Pierre Levy of O’Friel and Levy
Rooms 135                                 One South Church Avenue                        PO Box 2084
Albuquerque, NM 87120-1714                Suite 2000                                     Santa Fe, NM 87504-2084
                                          Tucson, AZ 85701-1611

Christine Romero                          Church of Ascension                            Church of the Incarnation
644 Don Gaspar Ave.                       2150 Raymac SW                                 2309 Monterrey Road NE
Santa Fe, NM 87505-2666                   Albuquerque, NM 87105-6841                     Rio Rancho, NM 87144-5579



Claimant C.M.                             Claimant D.G.                                  Claimant J.N.
Tinkler Law Firm                          Tinkler Law Firm                               Tinkler Law Firm
309 Johnson Street                        309 Johnson Street                             309 Johnson Street
Santa Fe, NM 87501-1828                   Santa Fe, NM 87501-1828                        Santa Fe, NM 87501-1828


Claimants                                 Congregation of Blessed Sacrament Father       Annie Coogan
c/o Tinkler Law Firm                      c/o Law Offices of Jeffrey E. Jones            215 Lincoln Ave., 204F
309 Johnson Street                        PO Box 23450                                   Santa Fe, NM 87501-1903
Santa Fe, NM 87501-1828                   Santa Fe, NM 87502-3450


Cristo Rey Parish                         Lisa K. Curtis                                 Jaime Dawes
1120 Canyon Road                          Curtis and Lucero                              Stelzner, Winter, Warburton, Flores, San
Santa Fe, NM 87501-6188                   215 Central Ave. NW                            PO Box 528
                                          Suite 300                                      Albuquerque, NM 87103-0528
                                          Albuquerque, NM 87102-3363

Dessie Montoya-Soto, Inc.                 Diocese of Gallup                              Dominican Ecclesial Institute
4060 St. Joseph Place                     503 W Highway 66                               4060 St. Joseph Place
Rooms 234                                 Gallup, NM 87301-6418                          Room 232B
Albuquerque, NM 87120-1714                                                               Albuquerque, NM 87120-1714
              Case 18-13027-t11      Doc 153    Filed 04/02/19          Entered 04/02/19 17:16:07 Page 2 of 10
Mark H Donatelli                                El Santuario de Chimayo                          Elizabeth Hardin-Burrola
Carolyn M. Cammie Nichols Rothstein             15 Santuario Drive                               P.O. Box 178
500 4th Street, NW                              Chimayo, NM 87522                                Gallup, NM 87305-0178
Suite 400
Albuquerque, NM 87102-2174

Ford Elsaesser                                  Emma Banuelos                                    Equifax
Elsaesser Anderson, Chtd.                       240 County Road 303                              PO Box 740241
320 East Neider Avenue                          Seminole, TX 79360-5959                          Atlanta, GA 30374-0241
Suite 102
Coeur D’Alene, ID 83815-6007

Estancia Valley Catholic Parish                 Experian                                         Paul M Fish
PO Box 129                                      PO Box 2002                                      PO Box 2168
Moriarty, NM 87035-0129                         Allen, TX 75013-2002                             Albuquerque, NM 87103-2168



Juan L Flores                                   Former Priest Marvin Archuleta                   George Garcia
Stelzner, Winter, Warburton, Flores, San        c/o Sons of the Holy Family                      4060 St. Joseph Place
P.O. Box 528                                    801 Locust Place NE, Apt. 1018                   Rooms 150
Albuquerque, NM 87103-0528                      Albuquerque, NM 87102-1652                       Albuquerque, NM 87120-1714


Charles S Glidewell                             Brad D. Hall                                     Don F Harris
Office of U.S. Trustee                          320 Gold Avenue SW                               320 Gold Avenue SW, Suite 1401
PO Box 608                                      Suite 1218                                       Albuquerque, NM 87102-3248
Albuquerque, NM 87103-0608                      Albuquerque, NM 87102-3216


Hilda Hidalgo                                   Holy Child                                       Holy Cross
121 Tafoya Road                                 PO Box 130                                       PO Box 1228
Belen, NM 87002-4123                            Tijeras, NM 87059-0130                           Santa Cruz, NM 87567-1228



Holy Cross Catholic School                      Holy Family                                      Holy Family - Chimayo
PO Box 1260                                     PO Box 12127                                     PO Box 235
Santa Cruz, NM 87567-1260                       Albuquerque, NM 87195-0127                       Chimayo, NM 87522-0235



Holy Family - St. Joseph                        Holy Family Church                               Holy Ghost
PO Box 37                                       355 Chicosa Street                               833 Arizona Street SE
Roy, NM 87743-0037                              Roy, NM 87743                                    Albuquerque, NM 87108-4823



Immaculate Conception                           Immaculate Conception - Cimarron                 Immaculate Conception - Las Vegas
619 Copper Avenue NW                            440 W. 18th Street                               811 6th Street
Albuquerque, NM 87102-3140                      Cimarron, NM 87714-9672                          Las Vegas, NM 87701-4305



Immaculate Conception - Tome                    Immaculate Heart of Mary                      Andrew Berne Indahl
PO Box 100                                      3700 Canyon Road                              Altura Law Firm
Tome, NM 87060-0100                             Los Alamos, NM 87544-2213                     500 Marquette Ave NW
                                                                                              Suite 1200
              Case 18-13027-t11            Doc 153   Filed 04/02/19                           Albuquerque,Page
                                                                             Entered 04/02/19 17:16:07     NM 87102-5312
                                                                                                                  3 of 10
James C Jacobsen                       Jane Doe I                                    Jane Doe L
201 Third Street Suite 300             c/o Brad D. Hall                              c/o Brad D. Hall
Albuquerque, NM 87102-3366             320 Gold Avenue,                              320 Gold Avenue,
                                       SW, Ste 1218                                  SW, Ste 1218
                                       Albuquerque, NM 87102-3202                    Albuquerque, NM 87102-3202

Jane Doe M                             Jane Does ’G, I, L and M’                     John Doe
c/o Brad D. Hall                       c/o Brad D. Hall                              c/o Merit Bennett
320 Gold Avenue,                       320 Gold Avenue, SW, Ste 1218                 460 St. Michael’s Drive, Ste 703
SW, Ste 1218                           Albuquerque, NM 87102-3216                    Santa Fe, NM 87505-7646
Albuquerque, NM 87102-3202

John Doe ’67’                          John Doe 90                                   John Doe 91
Claimants c/o Brad D. Hall             c/o Brad D. Hall                              c/o Brad D. Hall
320 Gold Avenue, SW, Ste 1218          320 Gold Avenue,                              320 Gold Avenue,
Albuquerque, NM 87102-3216             SW, Ste 1218                                  SW, Ste 1218
                                       Albuquerque, NM 87102-3202                    Albuquerque, NM 87102-3202

John Doe 92                            John Doe 93                                   John Doe 94
c/o Brad D. Hall                       c/o Brad D. Hall                              c/o Brad D. Hall
320 Gold Avenue,                       320 Gold Avenue,                              320 Gold Avenue,
SW, Ste 1218                           SW, Ste 1218                                  SW, Ste 1218
Albuquerque, NM 87102-3202             Albuquerque, NM 87102-3202                    Albuquerque, NM 87102-3202

John Doe 96                            John Doe 1, c/o Carolyn Nichols               John Doe 2
c/o Brad D. Hall                       Rothstein Donatelli, LLP                      c/o Carolyn Nichols
320 Gold Avenue,                       500 Fourth Street NW, Suite 400               Rothstein Donatelli, LLP
SW, Ste 1218                           Albuquerque, NM 87102-2174                    500 Fourth Street
Albuquerque, NM 87102-3202                                                           NW, Suite 400
                                                                                     Albuquerque, NM 87102
John Doe 4                             John Doe 5                                    John Doe 6
c/o Carolyn Nichols                    c/o Carolyn Nichols                           c/o Carolyn Nichols
Rothstein Donatelli, LLP               Rothstein Donatelli, LLP                      Rothstein Donatelli, LLP
500 Fourth Street                      500 Fourth Street                             500 Fourth Street
NW, Suite 400                          NW, Suite 400                                 NW, Suite 400
Albuquerque, NM 87102                  Albuquerque, NM 87102                         Albuquerque, NM 87102
Josephine Wafula                       Kenneth J. Griesemer                          La Santisima Trindad
c/o Curtis and Lucero                  4060 St. Joseph Place                         PO Box 189
215 Central Avenue NW Suite 300        Rooms 232-A                                   Arroyo Seco, NM 87514-0189
Albuquerque, NM 87102-3363             Albuquerque, NM 87120-1714


Larry Brito                            Pierre Levy                                   Paul M Linnenburger
c/o St. Anne’s                         O’Friel and Levy PC                           Rothstein Donatelli LLP
511 Alicia Street                      PO Box 2084                                   PO Box 8180
Santa Fe, NM 87501-3645                Santa Fe, NM 87504-2084                       Santa Fe, NM 87504-8180


Alicia C. Lopez                        Lucy Brown                                    Madison Bartleson
Rothstein Donatelli LLP                2808 Bellamah Drive                           c/o Prince, Schmidt, Korte and Baca
500 4th Street NW                      Santa Fe, NM 87507-5309                       2905 Rodeo Park Dr. East, Building 2
Suite 400                                                                            Santa Fe, NM 87505-6313
Albuquerque, NM 87102-2174

Mail Finance                           Caroline Manierre                             Mark Hilton
478 Wheelers Farm Road                 Rothstein Donatelli LLP                       c/o Michael Danoff and Assoc.
Milford, CT 06461-9105                 PO Box 8180                                   1225 Rio Grande Blvd. NW
                                       Santa Fe, NM 87504-8180                       Albuquerque, NM 87104-2630
              Case 18-13027-t11   Doc 153   Filed 04/02/19          Entered 04/02/19 17:16:07 Page 4 of 10
Mark Valdez                                   Leonard K Martinez-Metzgar                      Leslie D. Maxwell
460 St. Michael’s Drive                       Office of the U.S. Trustee                      Maxwell Law, P.C.
Suite 703                                     PO Box 608                                      9400 Holly Ave. NE
Santa Fe, NM 87505-7646                       Albuquerque, NM 87103-0608                      Bldg. 4
                                                                                              Albuquerque, NM 87122-2969

James R. Murray                               N.S. de Guadalupe del Valle de Pojoaque         NM Taxation and Revenue Dept.
Blank Rome LLP                                9 Grazing Elk Drive                             PO Box 8575
1825 Eye Street NW                            Santa Fe, NM 87506-7140                         Albuquerque, NM 87198-8575
Washington, DC 20006-5403


Nativity of the Blessed Virgin Mary           New Mexico School for the Arts                  New Mexico Taxation & Revenue Department
9502 4th Street NW                            4060 St. Joseph Place                           PO Box 8575
Albuquerque, NM 87114-1634                    San Juan Building                               Albuquerque, NM 87198-8575
                                              Albuquerque, NM 87120-1714


New Mexico Workers Comp Administration        Carolyn M Nichols                               Nuestra Senora de Guadalupe
2410 Centre Avenue SE                         Rothstein Donatelli LLP                         PO Box 1270
Albuquerque, NM 87106-4190                    500 4th Street NW                               Pena Blanca, NM 87041-1270
                                              Suite 400
                                              Albuquerque, NM 87102-2174

Nuestra Senora de Guadalupe - Taos            Office of the NM Attorney General               Old Town Catering Company
205 Don Fernando Street                       Ms. Maestas and Ms. Pino                        4060 St. Joseph Place
Taos, NM 87571-5932                           PO Box 1508                                     Albuquerque, NM 87120-1714
                                              Santa Fe, NM 87504-1508


Our Lady of Belen                             Our Lady of Fatima                              Our Lady of Guadalupe
101 - A North 10th Street                     4020 Lomas Blvd. NE                             1860 Griegos Road NW
Belen, NM 87002-3835                          Albuquerque, NM 87110-7745                      Albuquerque, NM 87107-2899



Our Lady of Guadalupe - Clovis                Our Lady of Guadalupe - Peralta                 Our Lady of Guadalupe - Villanueva
108 North Davis Street                        PO Box 10                                       PO Box 39
Clovis, NM 88101-7237                         Peralta, NM 87042-0010                          Villanueva, NM 87583-0039



Our Lady of Lavang                            Our Lady of Sorrows - Bernalilo                 Our Lady of Sorrows - La Joya
1015 Chelwood Park NE                         PO Box 607                                      PO Box 32
Albuquerque, NM 87112-5902                    Bernalillo, NM 87004-0607                       La Joya, NM 87028-0032



Our Lady of Sorrows - Las Vegas               Our Lady of the Annunciation                    Our Lady of the Assumption
403 Valencia Street                           2532 Vermont St. NE                             811 Guaymas Place NE
Las Vegas, NM 87701-3783                      Albuquerque, NM 87110-4638                      Albuquerque, NM 87108-2331



Our Lady of the Assumption                    Our Lady of the Most Holy Rosary                Alice Nystel Page
Jemez Springs                                 5415 Fortuna Road NW                            Office of the U.S. Trustee
PO Box 10                                     Albuquerque, NM 87105-1371                      PO Box 608
Jemez Springs, NM 87025-0010                                                                  Albuquerque, NM 87103-0608
              Case 18-13027-t11          Doc 153   Filed 04/02/19            Entered 04/02/19 17:16:07 Page 5 of 10
Thomas Paickattu                               Chris W Pierce                                 Pierre Levy
C/o Altura Law Firm                            Walker & Associates, P.C.                      644 Don Gaspar Ave.
500 Marquette Ave NW                           500 Marquette N.W., Suite 650                  Santa Fe, NM 87505-2666
Suite 1200                                     Albuquerque, NM 87102-5341
Albuquerque, NM 87102-5312

Prince of Peace Catholic Community             Province of St. Ann                            Province of St. Ann
12500 Carmel Avenue NE                         c/o Law Offices of Jeffrey E. Jones            c/o Paul R. Harris, Ulmer & Berne
Albuquerque, NM 87122-1221                     PO Box 24350                                   1660 West 2nd Street, Ste. 1100
                                               Santa Fe, NM 87502-9350                        Cleveland, OH 44113-1406


Queen of Heaven                                Risen Savior Catholic Community                Roman Catholic Church of the Archdiocese of
5311 Phoenix Avenue NE                         7701 Wyoming Blvd. NE                          4000 St. Josephs Place NW
Albuquerque, NM 87110-3125                     Albuquerque, NM 87109-5346                     Albuquerque, NM 87120-1714



Christine Romero                               Samuel I. Roybal                               Ruben Ortiz
c/o Pierre Levy, Esq.                          Walker & Associates, P.C.                      Michael Ross, Elias Law Firm, P.C.
644 Don Gaspar Avenue                          500 Marquette, NW, Ste 650                     111 Isleta Blvd., SW Ste A
Santa Fe, NM 87505-2666                        Albuquerque, NM 87102-5341                     Albuquerque, NM 87105-3896


Rudy Blea                                      Sacred Heart                                   Sacred Heart - Clovis
c/o Pierre Levy, O’Friel and Levy, P.C.        412 Stover Avenue SW                           911 N. Merriwether Street
644 Don Gaspar Avenue                          Albuquerque, NM 87102-3899                     Clovis, NM 88101-5864
Santa Fe, NM 87505-2666


Sacred Heart - Espanola                        Saint John XXII Catholic Community             San Antonio de Padua
PO Box 69                                      4831 Tramway Ridge Drive, NE                   PO Box 460
Espanola, NM 87532-0069                        Albuquerque, NM 87111-2787                     Penasco, NM 87553-0460



San Clemente                                   San Diego Mission                              San Felipe de Neri
PO Box 147                                     PO Box 79                                      PO Box 7007
Los Lunas, NM 87031-0147                       Jemez Pueblo, NM 87024-0079                    Albuquerque, NM 87194-7007



San Francisco de Asis                          San Ignacio                                    San Isidro
PO Box 72                                      1300 Waler Street NE                           3552 Aqua Fria Street
Ranchos De Taos, NM 87557-0072                 Albuquerque, NM 87102-1623                     Santa Fe, NM 87507-1583



San Jose                                       San Jose - Anton Chico                         San Jose - Los Ojos
2401 Broadway Blvd. SE                         PO Box 99                                      PO Box 6
Albuquerque, NM 87102-5009                     Anton Chico, NM 87711-0099                     Los Ojos, NM 87551-0006



San Juan Bautista                              San Juan Nepomuceno                            San Miguel
PO Box 1075                                    PO Box 7                                       403 El Camino Real Street NW
Ohkay Owingeh, NM 87566-1075                   El Rito, NM 87530-0007                         Socorro, NM 87801-5106

              Case 18-13027-t11           Doc 153   Filed 04/02/19           Entered 04/02/19 17:16:07 Page 6 of 10
San Miguel del Vado                        San Ysidro                                      Sara Sanchez
PO Box 507                                 PO Box 182                                      Stelzner, Winter, Warburton, Flores, San
Ribera, NM 87560-0507                      Corrales, NM 87048-0182                         PO Box 528
                                                                                           Albuquerque, NM 87103-0528


Sangre de Cristo                           Santa Clara                                     Santa Maria de La Paz Catholic Community
8901 Candelaria Road NE                    PO Box 186                                      11 College Avenue
Albuquerque, NM 87112-1209                 Roy, NM 87743-0186                              Santa Fe, NM 87508-9225



Santo Nino - Tierra Amarilla               Santuario San Martin de Porres                  Stephanie L Schaeffer
PO Box 160                                 8321 Camino San Martin SW                       Walker & Associates, P.C.
Tierra Amarilla, NM 87575-0160             Albuquerque, NM 87121-8302                      500 Marquette NW Suite 650
                                                                                           Albuquerque, NM 87102-5341


Servants of the Paraclete                  Shrine of Our Lady of Guadalupe - SF            Shrine of St. Bernadette
c/o Law Offices of Jeffrey E. Jones        417 Aqua Fria Street                            11509 Indian School Road NE
PO Box 24350                               Santa Fe, NM 87501-2505                         Albuquerque, NM 87112-3163
Santa Fe, NM 87502-9350


Shrine of the Little Flower                Sons of the Holy Family, Inc.                   Southwest Copy Systems Leasing
St. Teresa of the Infant Jesus             c/o Modrall Sperling                            4545 McLeod NE
300 Mildred Avenue NW                      500 4th Street NW, Ste. 1000                    Albuquerque, NM 87109-2202
Albuquerque, NM 87107-2307                 Albuquerque, NM 87102-2186


St. Alice                                  St. Anne                                        St. Anne - Tucumcari
PO Box 206                                 1400 Arenal Road SW                             306 West High
Mountainair, NM 87036-0206                 Albuquerque, NM 87105-4032                      Tucumcari, NM 88401-2801



St. Anne’s                                 St. Anthony - Dixon                             St. Anthony - Questa
511 Alicia Street                          PO Box 39                                       PO Box 200
Santa Fe, NM 87501-3645                    Dixon, NM 87527-0039                            Questa, NM 87556-0200



St. Anthony of Padua - Fort Sumner         St. Anthony of Padua - Pecos                    St. Augustine
PO Box 370                                 HC 74, Box 23                                   PO Box 849
Fort Sumner, NM 88119-0370                 Pecos, NM 87552-9705                            Isleta, NM 87022-0849



St. Bernadette Parish                      St. Charles                                     St. Edwin
11509 Indian School Rd. NE                 1818 Coal Place SE                              2105 Barcelona Road SW
Albuquerque, NM 87112-3163                 Albuquerque, NM 87106-4095                      Albuquerque, NM 87105-5713



St. Francis Xavier                         St. Francis Xavier - Clayton                    St. Gurtrude the Great
820 Broadway Blvd. SE                      115 North 1st Street                            PO Box 599
Albuquerque, NM 87102-4210                 Clayton, NM 88415-3503                          Mora, NM 87732-0599

              Case 18-13027-t11       Doc 153   Filed 04/02/19            Entered 04/02/19 17:16:07 Page 7 of 10
St. Helen                                    St. John Vianney Church                         St. John the Baptist - Santa Fe
1600 South Avenue O                          1001 Meteor Avenue NE                           1301 Osage Avenue
Portales, NM 88130-7099                      Rio Rancho, NM 87144-8031                       Santa Fe, NM 87505-3327



St. Joseph                                   St. Joseph - Cerrillos                          St. Joseph on the Rio Grande
PO Box 516                                   PO Box 98                                       5901 St. Joseph Drive NW
Springer, NM 87747-0516                      Cerrillos, NM 87010-0098                        Albuquerque, NM 87120-3767



St. Joseph’s Fertility Care                  St. Jude Thaddeus                               St. Mary
4060 St. Joseph Place                        5712 Paradise Blvd. NW                          PO Box 276
Rooms 130                                    Albuquerque, NM 87114-4928                      Vaughn, NM 88353-0276
Albuquerque, NM 87120-1714


St. Patrick - Chama                          St. Patrick - St. Joseph                        St. Pius X High School
PO Box 36                                    105 Buena Vista Street                          Catholic Center
Chama, NM 87520-0036                         Raton, NM 87740-2954                            5301 St. Josephs Drive NW
                                                                                             Albuquerque, NM 87120-1712


St. Rose of Lima                             St. Therese of the Infant Jesus Parish          St. Thomas Aquinas
439 South 3rd Street                         3424 4th Street NW                              1502 Sara Road SE
Santa Rosa, NM 88435-2405                    Albuquerque, NM 87107                           Rio Rancho, NM 87124-1848



St. Thomas Aquinas University Parish         St. Thomas the Apostle                          St. Vincent de Paul Society
1815 Las Lomas Road NE                       PO Box 117                                      c/o Robert Warburton and Sara Sanchez
Albuquerque, NM 87106-3803                   Abiquiu, NM 87510-0117                          PO Box 528
                                                                                             Albuquerque, NM 87103-0528


James I. Stang                               State of New Mexico, Workers Compensation Ad    Luis Stelzner
Pachulski Stang Ziehl & Jones                P.O. Box 27198                                  Stelzner, Winter, Warburton, Flores, San
10100 Santa Monica Blvd., #1300              2410 Centre Ave. SE                             302 8th St. NW Ste 200
Los Angeles, CA 90067-4114                   Albuquerque, NM 87106-4190                      Albuquerque, NM 87102-3024


The Cathedral Basilica of St. Francis        The Catholic Foundation                         The Holy See, Archbishop Pierre
PO Box 2127                                  4333 Pan American Fwy NE                        Apostolic Nunciature
Santa Fe, NM 87504-2127                      Albuquerque, NM 87107-6833                      3339 Massachusetts Avenue NW
                                                                                             Washington, DC 20008-3610


Thomas Mayefske                              Thomas Paickattu                                TransUnion LLC
1017 Florida SE                              c/o Andrew Indahl, Altura Law Firm              Attn: Public Records Dept.
Albuquerque, NM 87108-4929                   500 Marquette Drive NW, Ste. 1200               PO Box 2000
                                             Albuquerque, NM 87102-5312                      Chester, PA 19016-2000


United States Trustee                        Thomas D Walker                                 Robert P. Warburton
PO Box 608                                   Walker & Associates, P.C.                       Stelzner, Winter, Warburton, Flores, San
Albuquerque, NM 87103-0608                   500 Marquette Ave NW Ste 650                    PO Box 528
                                             Albuquerque, NM 87102-5341                      Albuquerque, NM 87103-0528
              Case 18-13027-t11         Doc 153   Filed 04/02/19            Entered 04/02/19 17:16:07 Page 8 of 10
Xerox Financial Services
45 Glover Avenue
Norwalk, CT 06850-1238




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Rudy Blea                                         (u)Catholic Charities, Inc.                          (u)John Doe




(d)Elizabeth Hardin-Burrola                          (u)John Doe #1, 2, 4, 5, 6                           (u)Patrick Kennedy
P.O. Box 178                                                                                              King Industries Corporation
Gallup, NM 87305-0178



(u)Official Committee of Unsecured Creditors         (u)Parish Steering Committee of the Roman Cat        (u)Santa Maria de La Paz Parish




(u)Sons of the Holy Family, Inc                      (u)St. Paul Fire & Marine Insurance Company          (u)J. W.




End of Label Matrix
Mailable recipients   210
Bypassed recipients    12
Total                 222




               Case 18-13027-t11               Doc 153    Filed 04/02/19           Entered 04/02/19 17:16:07 Page 9 of 10
  Annunciation Catholic School    Holy Ghost Catholic School      Our Lady of Fatima Catholic
  2610 Utah St NE                 6201 Ross Ave SE,               School
  Albuquerque, NM 87110           Albuquerque, NM 87108           4020 Lomas Blvd. NE,
                                                                  Albuquerque, NM 87110

  Our Lady of the Assumption       Queen of Heaven Catholic       Risen Savior Catholic School
  Catholic School                 School                          7701 Wyoming Blvd NE,
  815 Guaymas Pl NE,              5303 Phoenix Ave NE,            Albuquerque, NM 87109
  Albuquerque, NM 87108           Albuquerque, NM 87110

  San Felipe de Neri Catholic     St. Charles Borromeo Catholic   St. Mary Catholic School (701)
                                                                       th
  2000 Lomas Blvd NW,             School                          224 7 St NW, Albuquerque,
  Albuquerque, NM 87104           1801 Hazeldine Ave SE,          NM 87102
                                  Albuquerque, NM 87106

  St. Therese Catholic School     St. Mary Catholic School        Holy Child Catholic School
                                             th
  311 Shropshire Ave NW,          101-B N 10 St,                  PO Box 130
  Albuquerque, NM 87107           Belen, NM 87002                 Tijeras, NM 87509

  Holy Cross Catholic School      Santo Niño Regional Catholic    St. Michael's High School
  PO Box 1260, Santa Cruz, NM     School (159)                    (4550)
  87567                           23 College Ave, Santa Fe, NM    100 Siringo Rd, Santa Fe, NM
                                  87508                           87505

  St. Thomas Aquinas Catholic     La Santisima Trinidad
  School                          PO Box 189
  1100 Hood Rd SE                 Arroyo Seco, NM 87514
  Rio Rancho, NM 87124




Case 18-13027-t11       Doc 153    Filed 04/02/19     Entered 04/02/19 17:16:07 Page 10 of 10
